I concur with Judge Hildebrandt's excellent opinion, but feel compelled to express my disbelief that anyone could seriously contend that the board of managers of a condominium owners' association does not owe a fiduciary duty to the unit owners. Though the developer of the condominium project initially appoints board members who must serve two masters and who could possibly advance such a proposition, that is not the situation here. Here, the unit owners of this long-existing condominium elect all the board members, who are beyond cavil fiduciaries. What else could they be?
It is also impossible to understand the confusion in this case between (a) repair and maintenance, and (b) improvement. Preventing the collapse of a building is necessary maintenance, not an improvement.
Please Note:
The court has placed of record its own entry in this case on the date of the release of this Decision.